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                EXHIBIT 3
           (CMS Correspondence
             on Oct. 14, 2024)
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From: Duran, Vanessa (CMS/CM) <Vanessa.Duran@cms.hhs.gov>
Sent: Tuesday, October 15, 2024 3:10 PM
To: Patalano, Lou <Lou.Patalano@lablue.com>; CMS PartC&DStarRatings <PartCandDStarRatings@cms.hhs.gov>; Rice,
Cheri (CMS/CM) <Cheri.Rice@cms.hhs.gov>; Newsom, Mark (CMS/CM) <mark.newsom@cms.hhs.gov>
                                                       1
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Cc: Miller, Wesley <Wesley.Miller@lablue.com>; Saporito, Mary <Mary.Saporito@lablue.com>; Faulk, Sheldon
<Sheldon.Faulk@lablue.com>; Guillory, Daniel <Daniel.Guillory@lablue.com>
Subject: RE: Plan Preview #2 H6453


                             THIS EMAIL IS FROM AN EXTERNAL SENDER.
 DO NOT click links, open attachments, or share personal data if you do not know or were not expecting
                                    something from this sender.

Mr. Patalano: Acknowledging receipt. Our team is reviewing the additional information you sent yesterday and we’ll
follow up as quickly as we can.

Best regards,
Vanessa

Vanessa Duran | Director | Medicare Drug Beneﬁt & Part C & D Data Group | Center for Medicare | Centers for Medicare & Medicaid Services
| Cell: 443-324-9311 | O ice: 410-786-8697 | vanessa.duran@cms.hhs.gov


From: Patalano, Lou <Lou.Patalano@lablue.com>
Sent: Monday, October 14, 2024 4:46 PM
To: CMS PartC&DStarRatings <PartCandDStarRatings@cms.hhs.gov>; Rice, Cheri (CMS/CM) <Cheri.Rice@cms.hhs.gov>;
Duran, Vanessa (CMS/CM) <Vanessa.Duran@cms.hhs.gov>; mark.newsome@cms.hhs.gov
Cc: Miller, Wesley <Wesley.Miller@lablue.com>; Saporito, Mary <Mary.Saporito@lablue.com>; Faulk, Sheldon
<Sheldon.Faulk@lablue.com>; Guillory, Daniel <Daniel.Guillory@lablue.com>; Patalano, Lou
<Lou.Patalano@lablue.com>
Subject: RE: Plan Preview #2 H6453
Importance: High

Dear Ms. Rice, Ms. Duran, and Mr. Newsome:
I am Chief Legal Officer for Louisiana Health Service & Indemnity Company d/b/a Blue Cross and Blue Shield of
Louisiana (“BCBSLA”) and its subsidiary, HMO Louisiana, Inc. (“HMOLA”). BCBSLA appreciates the opportunity to
address the issues regarding the calculation of the Star Ratings for contract H6453 (“Surviving Contract”). In our
September 12, 2024 letter, HMOLA identified three (3) errors in the Star Ratings for the Surviving Contract that render
the ratings arbitrary, capricious, and contrary to law. CMS indicated on October 3, 2024 that it would not make any
adjustments to the Star Ratings for the Surviving Contract. As further detailed in the attached correspondence, we disagree
with CMS’s reasoning and respectfully reiterate our request that CMS recalculate the 2025 Star Ratings for the Surviving
Contract in accordance with applicable regulatory requirements.

To be clear, CMS’s errors resulted in the overall Star Rating for the Surviving Contract to be decreased from 3.80839 (4.0
Stars) to 3.74957 (3.5 Stars), a downgrade that will result in imminent, irreparable harm to HMOLA if not corrected
before the annual enrollment period for Medicare beneficiaries begins on October 15, 2024, as the unlawful downgrade
improperly skews the competitive landscape and will misinform current members and potential enrollees about the quality
of the Surviving Contract. In addition to the loss of membership and other competitive harms, failure to correct at least
one of these errors will also result in material adverse financial impact to BCBSLA and its subsidiaries in the form of lost
quality bonus payments, which will trickle down to members in the form of fewer benefits and higher costs.

Attached is a detailed explanation of each error. If any additional information is needed, BCBSLA would invite a meeting
with CMS and/ or CMS legal counsel to discuss these issues further. Thank you.

Lou Patalano
Chief Legal Officer, Senior Vice President & Corporate Secretary
Blue Cross and Blue Shield of Louisiana
5525 Reitz Avenue
Baton Rouge, Louisiana 70809
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